[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
CORRECTED MEMORANDUM OF DECISION IN RE: SUPPLEMENT TO MOTION FOR JUDGMENT OF ACQUITTAL DATED JULY 19, 1995. AKA MOTION FOR NEWTRIAL
Anthony Sinchak presented this motion alleging irregularities by government officers prior to and during his trial. It was filed July 20, 1995, the day ordered for the hearing on his CT Page 9080 pleading entitled "Motion for Judgment of Acquittal and Motion in Arrest of Judgment" dated May 3, 1995, and for sentencing. Prior to sentencing the defendant, the court ruled that the newly filed motion was presented in an untimely fashion in violation of the court's previously established briefing schedule. Additionally, the court found that there was no good cause for this lack of timeliness, and consequently, it refused to entertain the additional issues raised by the motion which the defendant in court verbally styled a motion for a new trial.
                                   II
According to the record of proceedings, on April 21, 1995, the jury found Anthony Sinchak guilty of murder (§ 53a-54a Conn. Gen. Stat.) and two counts of kidnapping in the first degree. (§ 53a-92 (a)(2)(B). After the jury was polled and the verdicts were ordered accepted, the court ordered the defendant's post-verdict motions and supporting briefs to be filed on or before May 12 and the state to file a responsive memo on or before May 26. Sentencing was scheduled for June 2 at 10:00 a.m.
Subsequently, Sinchak filed a pleading dated May 31, 1995, entitled "Motion for A Judgment of Acquittal and Motion in Arrest of Judgment."1 Thereafter, he filed a "Motion for Extension of Time to File Post Trial Motions and Meroranda [sic]" dated May 8, 1995, in which he sought additional time "to file post trial motions and memoranda to May 30 . . ." The court granted this motion and accordingly extended the time for the filing of the state's reply memorandum to June 15, 1995. The court also ordered sentencing rescheduled to June 23, 1995. The state timely filed its reply brief. The court rescheduled this matter to June 29, 1995. The defendant then asked for a further continuance "of post trial motions [sic] hearings and sentencing to a date in mid to late July" because of defense counsel's being on trial in the U.S. District Court. The court on June 15, 1995, granted that motion and ordered "The hearing on the post trial motion and sentencing [be] . . . rescheduled to Thursday, July 13, 1995 at 10:00 a.m." Finally, in response to a letter dated July 5, 1995 from defense counsel indicating that he was still on trial in the federal court and requesting a continuance of an additional week, this matter was rescheduled to July 20, 1995 at 10:00 a.m.
The record demonstrates Sinchak was given ample leave to present his post verdict motions and supporting memoranda from CT Page 9081 April 21, 1995 (the date of the rendition of jury verdicts) to May 30, 1995. At no time did he request additional time for that purpose.
For the foregoing reasons, we have declined to entertain this pleading, now styled a motion for a new trial.2
WILLIAM PATRICK MURRAY, J. A Judge of the Superior Court